       Case 4:13-cr-00268-JM        Document 205      Filed 05/26/15    Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                               No. 4:13CR00268-01 JLH

MAXWELL VICTOR MASON                                                         DEFENDANT

                                          ORDER

       Pending before the Court is the government’s motion for continuance of the sentencing

hearing currently set for Thursday, June 4, 2015. The motion is GRANTED. Document #204.

       The sentencing hearing for defendant Maxwell Victor Mason is hereby rescheduled for

FRIDAY, JUNE 5, 2015, at 9:30 A.M., in Courtroom #4-D, Richard Sheppard Arnold United

States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas.

       IT IS SO ORDERED this 26th day of May, 2015.


                                                  _________________________________
                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
